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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  DOUG LONGHINI,

               Plaintiff,

    v.

  FRIT SHOPS AT SUNSET PLACE FEE OWNER,
  LLC,

          Defendant.
  ___________________________________/

                                                COMPLAINT
          Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues FRIT SHOPS AT SUNSET PLACE

  FEE OWNER, LLC (hereinafter “Defendant”), and as grounds alleges:

                                 JURISDICTION, PARTIES. AND VENUE

          1.           This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202. The Court has original jurisdiction

  over Plaintiff’s claims arising under 42 U.S.C. § 12181, et seq. pursuant to 28 U.S.C. §§ 1331 and

  1343.

          2.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

          3.           Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, residing

  in Miami-Dade County, Florida, and is otherwise sui juris.
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          4.       At all times material, Defendant, FRIT SHOPS AT SUNSET PLACE FEE

  OWNER, LLC, was and is a Foreign Limited Liability Company, with its principal place of

  business, agents, officers and/or offices in Rockville, Maryland.

          5.       At all times material, Defendant, FRIT SHOPS AT SUNSET PLACE FEE

  OWNER, LLC, owned a commercial retail shopping center located at 5701 SW 72nd Street, Miami,

  Florida (the “Mall Property”). The Mall property holds itself out to the public as “the Shops at

  Sunset Place.”

          6.       Venue is properly located in the Southern District of Florida because Defendant’s

  Mall Property that is the subject of this Action, is located in Miami-Dade County, Florida, and

  Defendant regularly conducts business within Miami-Dade County, Florida, and because a

  substantial part(s) of the events or omissions giving rise to these claims occurred in Miami-

  Dade County, Florida at the Mall Property.

                                    FACTUAL ALLEGATIONS

          7.       Although over twenty-seven (27) years have passed since the effective date of

  Title III of the ADA, Defendant has yet to make its Mall Property accessible to individuals with

  disabilities.

          8.       Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

  people who are disabled in ways that block them from access and use of Defendant’s Mall Property

  and the businesses therein.

          9.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance



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         10.       Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI has

  very limited use of his hands and cannot operate any mechanisms which require tight grasping or

  twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating without

  the use of a wheelchair. He is limited in his major life activities by such, including but not limited

  to walking, standing, grabbing, grasping and/or pinching.

         11.       Defendant, owns and operates the Mall Property which is located at 5701 SW

  72nd Street, Miami, Florida that is the subject of this Action. The subject Mall Property and the

  businesses located therein are open to the public, contain a myriad of different businesses that pay

  Defendants rent and are all located in Miami, Florida. Defendant’s property includes diverse

  shopping, entertainment and dinning options.

         12.       The individual Plaintiff frequently visits the Mall Property and tenant businesses

  (including the related parking lots and common areas) to include visits on or about July 31, 2019,

  and encountered multiple violations of the ADA that directly affected his ability to use and enjoy

  the Mall Property and businesses therein. He often visits the Mall Property and businesses therein,

  when he is in the area visiting family and friends that reside nearby, and has definite plans to return

  to the Mall Property within one (1) month of the filing of this Complaint in order to avail himself of

  the myriad of goods and services offered to the public at the Mall Property, if it becomes accessible.

         13.       Plaintiff visited the Mall Property and businesses located therein as a

  patron/customer, and intends to return to the commercial Mall Property in order to avail himself

  of the goods and services offered to the public at the Mall Property. Plaintiff resides near the Mall

  Property, approximately ten (10) miles from the Mall Property, in the same state as the Mall

  Property, regularly frequents the Defendants’ Mall Property for its intended purposes, and intends



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  to return to the commercial Mall Property within one (1) month’s time.


         14.      The Plaintiff found the Mall Property to be rife with ADA violations. The

  Plaintiff encountered architectural barriers at the subject commercial Mall Property, and wishes to

  continue his patronage and use of the commercial Mall Property and the business therein.

         15.       The Plaintiff, DOUG LONGHINI, has encountered architectural barriers that are

  in violation of the ADA, at the Mall Property. The barriers to access at Defendant’s Mall Property

  have each denied or diminished Plaintiff’s ability to visit the Mall Property and businesses therein

  and likewise endangered his safety. The barriers to access, which are set forth below, have

  accordingly posed a risk of injury(ies), embarrassment, and discomfort to Plaintiff, DOUG

  LONGHINI, and others similarly situated.

         16.       The consistent non-compliance throughout the Mall Property is indicative of a

  policy that ignores the Americans with Disabilities Act.

         17.       Defendant owns and operates a place of public accommodation as defined by the

  ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendant

  is responsible for complying with the obligations of the ADA. The place of public accommodation

  (the buildings and business property that is the subject of this Action for their violations of the

  ADA) that Defendant owns and operates, is the Mall Property referenced above.

         18.       Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Mall Property, including, but not necessarily limited to the allegations in Paragraph

  20 of this Complaint. Plaintiff has reasonable grounds to believe that he will continue to

  be subjected to discrimination at the Mall Property and businesses therein which are open to the

  public and in violation of the ADA. Plaintiff desires to visit the Mall Property not only to avail

  himself of the goods and services available at the Mall Property, but to also assure himself that



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   this commercial Mall Property is in compliance with the ADA, so that he and others similarly

   situated will have full and equal enjoyment of the commercial Mall Property without fear of

   discrimination.

            19.      Defendant has discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the properties the businesses thereon, in a manner prohibited by 42 U.S.C.

   § 12182 et seq.

            20.      Defendant has discriminated, and continues to discriminate, against Plaintiff in

   violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

   January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

   less).   A list of the violations that Plaintiff encountered during his visit to the Defendant’s

   commercial Mall Property and businesses therein, include, but are not limited to, the following:
   COMMON AREAS

            A. Parking

 i.    The Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

       located on an excessive slope. Violation: There are accessible parking spaces located on an

       excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

ii.    The Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

       aisles are located on an excessive slope. Violation: There are accessible parking space access

       aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

       of the 2010 ADA Standards, whose resolution is readily achievable.




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iii.   There are accessible parking access aisles that are obstructed by objects. Violation: Accessible

       elements are not properly maintained or readily accessible and usable by persons with

       disabilities violating 28 CFR 36.211, whose resolution is readily achievable.

          B. Entrance Access and Path of Travel

  i.   There are protruding objects on the path of travel at the facility that present a hazard of

       colliding with them, violating Section 4.4.2 of ADAAG and Section 307.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

ii.    The Plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iii.   The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes between sections of the facility. These are violations

       of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

       303, 402 and 403, whose resolution is readily achievable.

iv.    The Plaintiff had difficulty entering tenant spaces without assistance, as the entrance thresholds

       are too high. Violation: There are threshold rises in excess of ½ inch at the tenant entrances,

       violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

       whose resolution is readily achievable.

 v.    The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the




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        ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

        resolution is readily achievable.

 vi.    The Plaintiff had difficulty using ramps, as they are located on an excessive slope. Violation:

        Ramps at the facility contain excessive slopes, violating Section 4.8.2 of the ADAAG and

        Section 405.2 of the 2010 ADA Standards, whose resolution is readily achievable.

vii.    The Plaintiff had difficulty on the path of travel at the facility, as ramps do not have compliant

        handrails violating Section 4.8.5 of the ADAAG and Section 405.8 of the 2010 ADA

        Standards, whose resolution is readily achievable.

viii.   The Plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

        Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

        of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

        achievable.

 ix.    The Plaintiff could not enter tenant spaces without assistance, as the required level landing is

        not provided. Violation: A level landing that is 60 inches minimum perpendicular to the

        doorway is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a) of

        the ADAAG and Section 404.2.4 of the 2010 ADA Standards, whose resolution is readily

        achievable.

           C. Public Restrooms

   i.   The Plaintiff could not exit the restroom without assistance, as the required maneuvering

        clearance is not provided. Violation: The restroom door does not provide the required latch

        side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.




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ii.     The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

        not self-closing and does not have compliant door hardware. Violation: The accessible toilet

        compartment door does not provide hardware and features that comply with Sections 4.17.5

        and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

        whose resolution is readily achievable.



iii.    The Plaintiff could not enter the restroom without assistance, as the required maneuvering

        clearance was not provided due to the location of a trashcan. Violation: The restroom door

        does not provide the required latch side clearance due to a lack of maintenance violating

        Section 4.13.6 of the ADAAG, 28 CFR 36.211, and Section 404.2.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.

iv.     The Plaintiff could not exit the restroom without assistance, as the required maneuvering

        clearance is not provided on the push side. Violation: The restroom door does not provide the

        required latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of

        the 2010 ADA Standards, whose resolution is readily achievable.

 v.     The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

        wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

        4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

        readily achievable.

      GameTime

           A. Entrance Access and Path of Travel




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  i.   There are protruding objects on the path of travel at the facility that present a hazard of

       colliding with them, violating Section 4.4.2 of ADAAG and Section 307.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

          B. Access to Goods and Services

  i.   There are drinking fountains that don’t provide access to those who have difficulty bending or

       stooping. Violation: There are drinking fountains that are in violation of Section 4.1.3(10) of

       the ADAAG and Sections 211.2 & 602.7 of the 2010 ADA Standards, whose resolution is

       readily achievable.

          C. Public Restrooms

  i.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

ii.    The Plaintiff could not use the coat hook without assistance, as it is mounted too high.

       Violation: There are coat hooks provided for public use in the restroom, outside the reach

       ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

       604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

iii.   The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

    AMC Theaters



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          A. Access to Goods and Services

  i.   There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 ii.   The Plaintiff could not utilize the lowered bar counter, as it cluttered with objects. Violation:

       There are lowered bar counters that are not usable due to a lack of maintenance, violating 28

       CFR 36.211, whose resolution is readily achievable.

    Public Restrooms

  i.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

    Buffalo Wild Wings

          A. Access to Goods and Services

  i.   There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

          B. Public Restrooms

  i.   The Plaintiff could not use the coat hook without assistance, as it is mounted too high.

       Violation: There are coat hooks provided for public use in the restroom, outside the reach

       ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

       604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.



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 ii.   The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

    Johnny Rockets

          A. Access to Goods and Services

  i.   There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

          B. Public Restrooms

  i.   The Plaintiff could not use the lavatory faucets outside the accessible toilet compartment

       without assistance, as they require a tight grasp and twist to operate. Violation: The lavatory

       faucets outside the accessible toilet compartment are not compliant violating Sections 4.19.5

       and 4.27.4 of the ADAAG and Sections 309.4 and 606.4 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 ii.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

iii.   The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section




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          4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

          readily achievable.

iv.       The Plaintiff could not use the lavatory faucets without assistance, as they require a tight grasp

          and twist to operate. Violation: Compliant faucets are not provided at the lavatory violating

          Sections 4.19.5 and 4.27.4 of the ADAAG and Sections 309.4 and 606.4 of the 2010 ADA

          Standards, whose resolution is readily achievable.

 v.       The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

          12” above a grab bar obstructing its use. Violation: The grab bars in the accessible toilet

          compartment do not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of

          the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is readily

          achievable.

vi.       The Plaintiff was exposed to a cutting/burning hazard because the lavatories outside the

          accessible toilet compartment have pipes that are not wrapped. Violation: The lavatory pipes

          are not fully wrapped or maintained outside the accessible toilet compartment violating Section

          4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose

          resolution is readily achievable.

vii.      The Plaintiff had difficulty opening the restroom door without assistance, as the door pressure

          to operate the door was excessive. Violation: There are doors at the facility that require

          excessive force to open them, in violation of Section 4.13.11 of the ADAAG and Section

          404.2.9 of the 2010 ADA Standards, whose resolution is readily achievable.

       Barnes & Noble

             A. Access to Goods and Services




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  i.   There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

          B. Public Restrooms

  i.   The Plaintiff was exposed to a cutting/burning hazard because the lavatories outside the

       accessible toilet compartment have pipes that are not wrapped. Violation: The lavatory pipes

       are not fully wrapped or maintained outside the accessible toilet compartment violating Section

       4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 ii.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

iii.   The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iv.    The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

       12” above a grab bar obstructing its use. Violation: The grab bars in the accessible toilet

       compartment do not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of

       the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.



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    Splitsville

           A. Access to Goods and Services

  i.   The Plaintiff could not utilize the bar counter, as it is mounted too high. Violation: There are

       bar counters that are not at the prescribed height, violating Section 4.32.4 and 5.2 of the

       ADAAG and Section 902.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

 ii.   There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

           B. Public Restrooms

  i.   The Plaintiff was exposed to a cutting/burning hazard because the lavatories outside the

       accessible toilet compartment have pipes that are not wrapped. Violation: The lavatory pipes

       are not fully wrapped or maintained outside the accessible toilet compartment violating Section

       4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 ii.   The Plaintiff could not exit the restroom area without assistance, as the required maneuvering

       clearance was not provided due to the location of a trashcan. Violation: The restroom area door

       does not provide the required latch side clearance due to a lack of maintenance violating

       Section 4.13.6 of the ADAAG, 28 CFR 36.211, and Section 404.2.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

iii.   The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

       clear floor space. Violation: The required clear floor space is not provided next to the toilet,




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          violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

          ADA Standards, whose resolution is readily achievable.

iv.       The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

          12” above a grab bar obstructing its use. Violation: The grab bars in the accessible toilet

          compartment do not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of

          the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is readily

          achievable.

 v.       The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

          wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

          4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

          readily achievable.

vi.       The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

          provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

          and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

vii.      The Plaintiff could not use the baby changing table without assistance as the handle is mounted

          too high. Violation: There are elements provided for public use in the restroom, with controls

          or operating mechanisms outside the reach ranges prescribed in Sections 4.2.5, 4.2.6, and

          4.27.3 of the ADAAG and Sections 308 & 309.3 of the 2010 ADA Standards, whose resolution

          is readily achievable.

              21.       The discriminatory violations described in Paragraph 19 are not an exclusive list

       of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff



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  further requests to inspect any and all barriers to access that were concealed by virtue of the

  barriers' presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and

  equal enjoyment of the commercial Mall Property and businesses therein; Plaintiff requests to be

  physically present at such inspection in conjunction with Rule 34 and timely notice.


         22.          The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendant, Defendant’s buildings, the

  businesses and facilities therein; and have otherwise been discriminated against and damaged by the

  Defendant because of the Defendant’s ADA violations as set forth above. The individual Plaintiff,

  and all others similarly situated, will continue to suffer such discrimination, injury and damage

  without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         23.          Defendant has discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of

  42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all   offered goods,        services,   facilities, privileges, advantages or accommodations to

  individuals with disabilities; and by failing to take such efforts that may be necessary to ensure that

  no individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.


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         24.        Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

  a clear legal right to the relief sought. Further, injunctive relief will serve the public interest

  and all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

  entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

  U.S.C. § 12205 and 28 CFR 36.505.

         25.        A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, the Plaintiff and those similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as

  requested herein. In order to remedy this discriminatory situation, the Plaintiff require an

  inspection of the Defendant’s place of public accommodation in order to determine all of the areas

  of non-compliance with the Americans with Disabilities Act.

         26.        Notice to Defendant is not required as a result of the Defendant’s failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer

  employees and gross receipts of $500,000 or less). All other conditions precedent have been met by

  Plaintiff or waived by the Defendant.

         27.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the commercial Mall Property owned and

  operated by the Defendant, located in Miami, Florida, the interiors, exterior areas, and the common

  exterior areas of the property and businesses therein to make those facilities readily accessible and

  useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until

  such time as the Defendants cures their violations of the ADA.

         WHEREFORE, the Plaintiff, DOUG LONGHINI, respectfully requests that this Honorable

  Court issue (i) a Declaratory Judgment determining Defendant at the commencement of the subject

  lawsuit is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.;

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  (ii) Injunctive relief against Defendant including an order to make all readily achievable alterations

  to the facilities; or to make such facilities readily accessible to and usable by individuals with

  disabilities to the extent required by the ADA; and to require Defendant to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such steps that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services; (iii) An award of attorneys’

  fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205; and (iv) such other relief as the

  Court deems just and proper, and/or is allowable under Title III of the Americans with Disabilities

  Act.

  Dated: September 30, 2019

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                                                 By: /s/ Anthony J. Perez
                                                       ANTHONY J. PEREZ
                                                       Florida Bar No.: 535451




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